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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                   SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                    Case No. 3:21-cr-00402 RS
12                  Plaintiff,                    [PROPOSED] ORDER GRANTING
                                                  UNOPPOSED MOTION FOR EARLY
13             v.                                 TERMINATION OF SUPERVISED
                                                  RELEASE
14   VICTOR MAKRAS,
                                                  Dept.:      Courtroom 3 – 17th Floor
15                  Defendant.                    Judge:      Hon. Richard Seeborg
16                                                Date Filed: October 19, 2021
17                                                Trial Date: August 15, 2022
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      [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR EARLY TERMINATION OF SUPERVISED
                                          RELEASE
                                   Case No. 3:21-cr-00402 RS
     2764383
      Case 3:21-cr-00402-RS Document 370-2 Filed 08/09/24 Page 2 of 2



 1
                                                 ORDER
 2
               Upon consideration of Defendant Makras’ Unopposed Motion for Early Termination of
 3
     Supervised Release, and the arguments and authority presented therein, pursuant to 18 U.S.C. §
 4
     3583(e)(1), the Court hereby TERMINATES the term of supervised release in this case and
 5
     discharges Mr. Makras from supervision.
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 7
     Dated: August ___, 2024
 8
                                                   THE HONORABLE RICHARD SEEBORG
 9
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR EARLY TERMINATION OF SUPERVISED
                                          RELEASE
                                   Case No. 3:21-cr-00402 RS
     2764383
